Case 1:16-cv-02307-CRC Document 13 Filed 07/14/17 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Chelsea E. MANNING,
Plaintiff,

Daniel R. COATS,
Director of National Intelligence, et al.,
Defendants.

 

)
)
)
)
)
)
)
)
)

Civil Action No, 1:16-CV-02307-CRC

STIPULATION OF DISMISSAL

Pursuant to F. R. Civ. P. 41 (a)(1)(A) (i), it is STIPULATED and AGREED between the
parties and their respective counsel that the above-captioned civil action is voluntarily dismissed
against all Defendants by the Plaintiff, without prejudice.

/s/_ Chelsea E, Manning
CHELSEA E. MANNING
pro se

Mailing Address:

1492 Selworthy Road
Potomac, Maryland 20854-6170

June 16, 2017

CHAD A. READLER
Acting Assistant Attorney General

CHANNING D. PHILLIPS
United States Attorney

ANTHONY J, COPPOLINO
Deputy Branch Director

/s/_ Robin Thurston

Robin Thurston (INinois Bar)

Trial Attorney

United States Department of Justice
Civil Division, Federal Programs Branch
Tel.: (202) 616-8188

Fax: (202) 616-8470

Email: robin.f.thurston@usdoj.gov

Mailing Address:
Post Office Box 883
Washington, D.C. 20044

Courier Address:

20 Massachusetts Avenue N.W.
Washington, D.C. 20001
Counsel for Defendants

RECEIVED
JUL 14 2097

e ,
Clerk, HS. District & Bankruntey

ae a tO tebe ae an
Werte tar tag wauiige GF COI eR
